           Case 2:15-cv-05148-AB Document 21 Filed 11/19/18 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COL'RT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,
 ex rel. JOSEPH JOHN URBA.""J,
               Plaintiff-Relator,

               V.                                Civil Action No. 15-5148
                                                                                          ,,. --
 McKESSON CORP.,                                 FILED UNDER SEAL
            Defendant.                                                         NOV 19 2018




declined to intervene in this action under the False Claims Act, 31 V.S.C.

§ 3730(b)(4)(B), the Court rules as follows:

IT IS ORDERED that:

       1. the seal be lifted on the complaint and served upon the defendant by the

relator;

       2. all other contents of the Court's file in this action remain under seal and

not be made public or served upon the defendant, except for this Order and the

Government's Notice of Election to Decline Intervention, which the relator will

serve upon the defendant only after service of the complaint;

       3. the seal be lifted as to all other matters occurring in this action after the

date of this Order;

       4. the parties shall serve all pleadings and motions filed in this action,

including supporting memoranda, upon the C'nited States, as provided for in 31

U.S.C. § 3730(c)(3). The C'nited States may order any deposition transcripts and is
;
    ...
      ., ·...
                           Case 2:15-cv-05148-AB Document 21 Filed 11/19/18 Page 2 of 2



                entitled to intervene in this action, for good cause, at any time;

                      5. the parties shall serve all notices of appeal upon the United States;

                      6. all orders of this Court shall be sent to the United States; and

                      7. should the relator or the defendants propose that this action be dismissed,

                settled, or otherwise discontinued, the Court will solicit the written consent of the

                United States before ruling or granting its approval.

                                                                  BY THE COURT:




                                                                  United States District Judge




                Copies of this Order shall be furnished to:

                David C. Kane, Esquire
                KA."IB & ASSOCIATES, LLC
                1500 John F. Kennedy Blvd., Suite 820
                Philadelphia, PA 19102
                Counsel for Relator


                Landon Y. Jones III
                Assistant United States Attorney
                615 Chestnut Street, Suite 1250
                Philadelphia, PA 19106
                Attorney for the United States




                                                              2
